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               IN THE UNITED STATES DISTRICT COURT
             FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

DAVID IRVIN, individually and on
behalf of all others similarly situated,

                    Plaintiff,
       v.                                  Case No. 1:23-cv-00530-CCC

CABELA’S L.L.C., et al.,

                    Defendants.


                  DEFENDANTS’ REPLY IN SUPPORT OF
                       THEIR MOTION TO DISMISS
            PLAINTIFF’S AMENDED CLASS ACTION COMPLAINT
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                                INTRODUCTION
       Plaintiff’s Complaint should be dismissed. Plaintiff seeks to impose massive

liability on Defendants Cabela’s L.L.C. and BPS Direct, L.L.C. (collectively,

“BPS”) for their alleged use of using common advertising technology on its website.

The Complaint asserts claims under the Wiretapping and Electronic Surveillance

Control Act (“WESCA”) and under Pennsylvania’s Uniform Firearms Act (“UFA”).

Both claims fail because Plaintiff does not allege a concrete injury. Plaintiff’s only

alleged harm is a bare statutory violation, which is not enough to confer standing.

His WESCA claim also fails because he does not allege several of its key elements.

And Plaintiff’s UFA claim simply does not fit here. For the reasons BPS outlined in

its Motion (Dkt. 38 and 39) and as discussed further below, Plaintiff’s Complaint

should be dismissed.

                                   ARGUMENT

I.    Plaintiff Lacks Standing to Assert His Claims.
      Plaintiff lacks standing to assert both his Wiretap Act and UFA claims because

he does not allege a concrete injury. The Complaint alleges that Plaintiff was harmed

because his information was “unlawfully disclosed” to Facebook. Compl. (Dkt. 20)

¶ 9. As the Eastern District of Pennsylvania has already held, that alleged harm “most

closely matches” a claim for public disclosure of private facts. Barclift v. Keystone

Credit Servs., LLC, 585 F. Supp. 3d 748, 758 (E.D. Pa. 2022) (plaintiff’s claims that

the defendant’s violated her “right not to have her private information shared with
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third parties” “most closely matches the privacy cause of action for public disclosure

of private facts.”) (citing Restatement (Second) of Torts § 652A (Am. Law Inst.

1977)). Plaintiff does little to dispute this fact, because he cannot do so. See Compl.

¶¶ 9, 39, 70; see also Opp’n (Dkt. 47), p. 10 (conceding that “Plaintiff suffered an

intangible harm akin to intrusion upon seclusion and disclosure of private

information.”).

     Plaintiff’s claim fails because the information allegedly disclosed to Facebook

is not private information. At most, the Complaint alleges BPS disclosed Plaintiffs’

interactions with BPS’s website, but numerous courts have held that the disclosure

of web browsing activity is not a traditionally recognized privacy interest. See, e.g.,

Mikulsky v. Noom, Inc., 2023 WL 4567096, at *5 (S.D. Cal. July 17, 2023)

(“Plaintiff’s conclusory allegation that she disclosed ‘personal information’”

including alleged “personally identifiable browsing history” does not allow the

Court to determine whether Plaintiff has a protectable privacy interest in that

information.”); Lightoller v. Jetblue Airways Corp., 2023 WL 3963823, at *4 (S.D.

Cal. June 12, 2023) (plaintiff lacked a concrete harm where she alleged the defendant

intercepted her electronic communications, including her “mouse movements,

clicks, keystrokes (such as text being entered into an information field or text box),

URLs of webpages visited, and/or other electronic communications in real-time.”).




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        Moreover, under Pennsylvania law, the public disclosure of private facts

requires “publicity,” which means “a matter must be made public through

communication to either the general public or enough people that the matter is

‘substantially certain’ to become public knowledge.” Perloff v. Transamerica Life

Ins. Co., 393 F. Supp. 3d 404, 409–10 (E.D. Pa. 2019); see also Burris v. Weltman,

Weinberg & Reis, Co., L.P.A., 2022 WL 3580766, at *7 (M.D. Pa. Aug. 19, 2022)

(“the public disclosure of private facts cause of action requires publicity.”)

(quotations omitted). Plaintiff’s alleged disclosure “to one person”—Facebook—

“does not meet this standard.” Perloff, 393 F. Supp. 3d at 409–10. Thus, without

publicity, Plaintiff has failed to allege that the type of harm he allegedly suffered

bears a “close enough relationship to the tort of disclosure of private facts,” for the

simple reason that “there was no publicity.” Barclift, 585 F. Supp. 3d at 758

(emphasis in original). And “without that harm, Plaintiff has no common law

analogue upon which to assert standing.” Burris, 2022 WL 3580766, at *7.

        For these reasons, Plaintiff’s Complaint should be dismissed for lack of

standing.

   I.       Plaintiff has not stated a WESCA claim.

            A. Plaintiff Does Not Allege an Interception in Pennsylvania.

         It is clear from the allegations in the Amended Complaint that no interception

occurred in Pennsylvania. Plaintiff claims it does, pointing to the fact that he



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accessed BPS’s website while in Pennsylvania. Opp’n, p. 8 (Plaintiff “‘access[ed]

the website and complet[ed] [his] purchase,’ and that during that time he ‘was

located in Pennsylvania.’”). But as BPS argued in its Motion, Plaintiff’s location is

immaterial to the place of interception. See Larrison v. Larrison, 750 A.2d 895 (Pa.

Super. 2000) (refusing to apply WESCA to a phone call placed in Pennsylvania

because the interception occurred in New York).

      The parties agree that according to a recent Third Circuit opinion interpreting

WESCA, an “interception occurs where there is an act taken to gain possession of

communications.” Popa v. Harriet Carter Gifts, Inc., 52 F.4th 121, 130 (3d Cir.

2022). Here, Plaintiff alleges the act taken to gain possession of his communications

on Cabela’s website was BPS’s integration of the pixel in the website code. Compl.

¶ 14 (“[w]hen the Facebook Tracking Pixel captures an action, it sends a record to

Facebook.”). The pixel is not located on Plaintiff’s browser, but was “integrated”

into BPS and Cabela’s websites. BPS’s websites are hosted on computer servers. See

Popa, 52 F.4th at 132 (the “place of interception is the point at which the signals

were routed to [a third party’s] servers.”). But nowhere in the Complaint does

Plaintiff allege BPS’s servers are located in Pennsylvania or that BPS integrated the

Meta Pixel onto its website from a location in Pennsylvania. Thus, there are simply

no allegations demonstrating that the alleged interception could have occurred in

Pennsylvania.



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      This outcome makes sense. WESCA does not apply to out-of-state conduct,

because Pennsylvania courts do not have power to control conduct occurring outside

the state. See Larrison, 750 A.2d at 898; see also Commonwealth v. Firestone, 385

A.2d 489, 490 (Pa. Super. Ct. 1978) (“[j]urisdiction in criminal matters rests solely

in the courts of the state or country in which the crime is committed.”); see also Zarif

v. Hwareh.com, Inc., 2023 WL 5242452, at *3, *4 (S.D. Cal. Aug. 15, 2023)

(granting motion to dismiss similar claims for lack of personal jurisdiction, because

hosting a website that has “universal accessibility” is not enough to “justify hauling

a defendant across state lines.”). Because Plaintiff does not allege that the Facebook

Pixel was added to BPS’s website in Pennsylvania, or that the servers that host BPS’s

computer code are located in Pennsylvania—WESCA does not apply here.

Plaintiff’s WESCA claim should be dismissed.

          B. Plaintiff Does Not Allege the Interception of the “Contents” of a
             Communication.

      Despite Plaintiff’s argument otherwise, the Complaint does not sufficiently

allege that the Facebook Pixel intercepted the “contents” of his communications with

Cabela’s website. As BPS already demonstrated, the information Plaintiff alleges

BPS disclosed to Facebook—the URL accessed; “Microdata,” including the title and

description of the webpage visited; button clicks; and text, such as name and address,

entered into online forms—are not contents. See Mot., pp. 18–21; see also Opp’n,

pp. 15–16.

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      Plaintiff relies on a single court’s “view” that a “descriptive URL” can be

considered “contents” within the meaning of California’s wiretap statute. See In re

Meta Pixel Healthcare Litig., 2022 WL 17869218, at *11 (N.D. Cal. Dec. 22, 2022).

But the Third Circuit distinguishes between “extrinsic information used to route a

communication and the communicated content itself.” In re Google Inc. Cookie

Placement Consumer Priv. Litig., 806 F.3d 125, 135 (3d Cir. 2015). Addresses,

phone numbers, and URLs “may be dialing, routing, addressing, or signaling

information, but only when they are performing such a function.” Id. Despite the

numerous screenshots that reflect information the pixel might disclose to Facebook,

Plaintiff has not alleged any of the URLs he visited were intercepted, much less that

the URLs or information about the pages he visited were used for anything other

than dialing, routing, addressing, or signaling functions. In fact, nowhere in the

Complaint does Plaintiff allege that any information collected by the Pixel has been

associated with his Facebook profile or that Facebook presented advertisements to

him based on his visit to Cabela’s website. For these reasons, the Court should find

that Plaintiff has not adequately alleged that the content of any of his

communications on Cabela’s website were intercepted.

         C. Plaintiff Does Not Allege that His Communications Were
            Intercepted Through a “Device or Apparatus.”

      Plaintiff argues that the terms “device” and “apparatus” are so broad that they

include intangible computer code like the Facebook Pixel. See Opp’n, p. 17. Yet

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Plaintiff makes no effort to address the fact that the ordinary meaning of those terms

relates only to tangible objects. Instead he relies on Commonwealth v. Smith, 136

A.3d 170 (Pa. Super. Ct. 2016), where the court found a cell phone used only as a

voice recorder fell outside of the Act’s telephone exception. Id. at 173–74. But that

case is inapposite. The scope of the telephone exception does not have anything to

do with whether the Meta Pixel code is a device or apparatus. Indeed, Smith’s finding

that a cell phone is a “device” under the Act is consistent with BPS’s position,

because a cell phone is a tangible object.

      Consistent with this plain meaning—and with numerous other courts

analyzing this same issue—the Court should find that computer code cannot be a

“device” or “apparatus” under the Wiretap Act. See Arthurs v. City of Pittsburgh,

185 Pa. Super. 85, 89 (1958) (“The plain and unmistakable terms of a statute must

be interpreted according to their usual and ordinary meaning.”); see also Potter v.

Havlicek, 2008 WL 2556723, at *8 (S.D. Ohio June 23, 2008) (dismissing federal

wiretap claim because “the word ‘device’ does not encompass software”); Jacome

v. Spirit Airlines, 2021 WL 3087860, at *5 (Fla. Cir. Ct. June 17, 2021) (dismissing

Florida wiretap claim because session replay software is not a “device or

apparatus”); Cardoso v. Whirlpool Corp., No. 21-CV-60784-WPD, 2021 WL

2820822, at *2 (S.D. Fla. July 6, 2021) (same); Connor v. Whirlpool Corp., 2021

WL 3076477, at *2 (S.D. Fla. July 6, 2021) (same); cf. United States v. Ackies, 918



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F.3d 190, 199 n.5 (1st Cir. 2019) (rejecting argument that software is a “device”

under Federal Stored Communications Act); In re Sony Gaming Networks &

Customer Data Sec. Breach Litig., 903 F. Supp. 2d 942, 972 (S.D. Cal. 2012)

(“[S]oftware is not a tangible good or service.”).

          D. Plaintiffs Consented to the Disclosure of His Communications to
             Facebook.

      Plaintiff argues that he could not have consented to BPS’s use of the Facebook

Pixel because (1) Facebook’s policy did not apply to the disclosure of firearm data

and (2) BPS’s privacy policy is not an enforceable contract. Plaintiff is wrong on

both fronts.

      First, as an “active” Facebook user, Plaintiff agreed to Facebook’s policies.1

Compl. ¶¶ 6, 40. This includes Facebook’s Terms of Service, the Cookies Policy,

and the Data Policy, as well as any updates Facebook subsequently made to those

policies.2 Plaintiff argues that “even if [he] had agreed to [Facebook’s policies], it


1
 Although courts generally may not consider matters outside of the complaint when
ruling on a motion to dismiss, courts may rely on documents that are “integral to or
explicitly relied upon in the complaint.” Cerome v. Moshannon Valley Corr.
Ctr./Cornell Companies, Inc., No. 09-2070, 2010 WL 4948940, at *3 (3d Cir. Dec.
7, 2010) (citation and internal quotation marks omitted). Without question, Plaintiff
relies on Facebook’s policies in his Complaint. See Compl. ¶¶ 40–44.
2
 See Dkt. 20 ¶ 40 n.34; Facebook’s Terms of Service (“we may need to update these
Terms from time to time to accurately reflect our services and practices, to promote
a safe and secure experience on our Products and services, and/or to comply with
applicable law. Unless otherwise required by law, we will notify you before we make
changes to these Terms and give you an opportunity to review them before they go

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would not constitute consent to the interception at issue,” relying on In re Meta Pixel

Healthcare Litigation, 2022 WL 17869218 (N.D. Cal. Dec. 22, 2022). Opp’n, p. 19.

But that case involved personal health information, whereas this case involves

allegations related to Plaintiff’s web browsing and market data—the very type of

information he agreed Meta could receive. See Compl. ¶¶ 10–11 (describing

Facebook not only as a social networking platform, but a site that “sells advertising

space by highlighting its ability to target users.”); see also Facebook’s Privacy

Policy (“a business could tell us about a purchase you made in its store.”);

Facebook’s Cookie’s Policy, Dkt. 39-3 at 4 (“Cookies allow us to help deliver ads

to people who have previously visited a business’s website, purchased its products

or used its apps and to recommend products and services based on that activity.”).

This case is more analogous to Smith v. Facebook, Inc., 262 F. Supp. 3d 943, 954–

55 (N.D. Cal. 2017), where the court found that Facebook’s disclosures were

adequate to notify users of Facebook’s tracking activity. Id. (noting Facebook’s

policies disclose “the precise conduct at issue” and therefore constitute adequate

notice). The decision in In re Meta does not change that. See In re Meta, 2022 WL




into effect. Once any updated Terms are in effect, you will be bound by them if you
continue to use our Products.”); see also Dkt. 20 ¶ 40 n.36; Facebook’s Data Policy
(“We’ll notify you before we make material changes to this Policy. You’ll have the
opportunity to review the revised Policy before you choose to continue using our
Products.”).

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17869218, at *9 (“The act of navigating to a patient portal on a healthcare provider’s

website is not the general internet browsing contemplated in Smith.”).

      These disclosures are important because in Pennsylvania, a person consents

to an interception when they are given notice but choose to proceed anyway. See

Popa, 52 F.4th at 132 (the mutual consent exception does not require “actual

knowledge”). Thus, Plaintiff cannot maintain any of his claims based on the alleged

disclosure of his web browsing history, because that is precisely the type of

information Plaintiff agreed to allow Facebook to collect.

      Plaintiff also consented to the disclosure of his website activity on BPS’s

website by accepting BPS’s privacy policy. As Plaintiff explains, BPS’s privacy

policy is a browserwrap agreement. Browserwrap agreements are routinely enforced

where users have actual notice or the website puts a reasonably prudent user on

inquiry notice of its terms. Popa v. Harriet Carter Gifts, Inc., 426 F. Supp. 3d 108,

118 (W.D. Pa. 2019) (listing cases across the country where courts have enforced

browserwrap agreements). Generally, the enforceability of browserwrap agreements

“turn[s] on whether the terms or a hyperlink to the terms are reasonably conspicuous

on the webpage.” Childs v. Fitness Int’l LLC, 2023 WL 3594180, at *2 (E.D. Pa.




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May 22, 2023). BPS conspicuously posts its privacy policy in the footer of every

webpage on its website.3

      As BPS already demonstrated, once a user opens the privacy policy, the policy

notifies visitors about its use of tracking pixels. The policy states “[w]e may use

third party-placed tracking pixels and Cookies.” The policy continues to explain, in

an easily accessible chart, that BPS discloses commercial information about its

website visitors, which includes the “products/services purchased” for “ad

customization.”4 By continuing to use Cabela’s website even after Plaintiff was put

on notice that the website uses pixels, Plaintiff consented to the sharing of his

activities on Cabela’s website with Facebook.

      The privacy policy also meets the WESCA’s consent requirements. As BPS

explained in its Motion, the WESCA does not require actual consent. But under the

WESCA, there is no unlawful interception where one party “should have known,

that the conversation was recorded.” Commonwealth v. Byrd, No. 1818 WDA 2016,

2018 WL 1465219, at *5 (Pa. Super. Mar. 26, 2018) (quoting Commonwealth v.


3
  Plaintiff argues that BPS’s browserwrap is unenforceable, relying on Childs v.
Fitness Int’l LLC, 2023 WL 3594180 (E.D. Pa. May 22, 2023) and James v. Glob.
TelLink Corp., 852 F.3d 262, 267 (3d Cir. 2017). However, those cases have no
application here because they address defendants’ efforts to enforce arbitration
clauses for claims wholly unrelated to a website.
4
 https://web.archive.org/web/20211103211005/https://www.basspro.com/shop/en/
privacy-policy-summary-bass-pro-shops. Although BPS recently updated its
Privacy Policy, both versions of the policy include similar disclosures.

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Diego, 119 A.3d 370, 377 (Pa. Super. 2015), appeal denied, 129 A.3d 1240 (Pa.

2015)).

      For each of these reasons, the Court should find that Plaintiff consented to the

disclosure of his activity on Cabela’s website to Facebook.

II.   Plaintiff’s Claim Under the Uniform Firearms Act Fails.

      A.     Plaintiff has not alleged an improper “disclosure.”
      Plaintiff does not dispute that the UFA only prohibits the “disclosure” of

information about an individual’s firearm purchase, not aiding or assisting in

disclosure. Yet, his own Complaint alleges just that. Plaintiff claims that BPS

“assisted Facebook” with supposedly intercepting his communications. Compl. ¶¶

9, 38. Thus, Plaintiff’s allegations identify Facebook as the entity making the

“disclosure” at issue, not BPS. Plaintiff does not even attempt to address his

inconsistent allegations (indeed, he does not cite the Complaint once in the relevant

section of his brief, see Opp’n, pp. 21–22). Without more, Plaintiff has failed to

allege that BPS engaged in any “disclosure” at all.

      B.     Plaintiff does not allege that BPS disclosed information
             “furnished” under the UFA.
      The UFA prohibits only the public disclosure of information which was

“furnished by a potential purchaser or transferee under [Section 6111].” 18 Pa.C.S.

§ 6111. And Section 6111(b), relates only to an “application/record of sale.”

18 Pa.C.S. § 6111(b)(1). But Plaintiff still does not allege that BPS disclosed an


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application or record of sale as contemplated by Section 6111. Instead, he claims

that BPS “assisted” Facebook in disclosing his activity on BPS’s website. See

Compl. ¶¶ 9, 38. Plaintiff’s UFA claim should be dismissed.

      C.     Plaintiff does not allege a “public” disclosure.
      Finally, Plaintiff does not allege a “public” disclosure under the UFA. See

18 Pa.C.S. § 6111(i). Plaintiff relies on Doe v. Franklin County to argue that

disclosure “to any other person” constitutes a public disclosure for the purposes of

the UFA. Opp’n, p. 25. But the Court’s holding in Franklin County was not so broad.

Instead, the Court held that a person “violates Section 6111(i) of the UFA by

revealing an applicant’s name or identity to a person not (1) authorized to receive

such information by statute; (2) involved in the operation or management of the

sheriff’s office; (3) representing a law enforcement or criminal justice agency; or (4)

otherwise authorized by an applicant.” Doe v. Franklin Cnty., 139 A.3d 296, 307

(Pa. Commw. Ct. 2016). As BPS argued in its initial motion, Plaintiff does not allege

that his name or identity was disclosed to a person not “authorized by” Plaintiff to

receive it. The opposite is true; Plaintiff alleges that his information was disclosed

to Facebook, who had Plaintiff’s consent to collect information about his web

browsing activities. Plaintiff’s UFA claim should be dismissed.

                                  CONCLUSION
      For these Plaintiff’s Amended Complaint should be dismissed.



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                         CERTIFICATE OF SERVICE

      I, Erin L. Leffler, hereby certify that on August 25, 2023, I filed the foregoing

Reply in Support of Defendants’ Motion to Dismiss by CM/ECF and served a true

and correct copy by e-filing and by electronic mail on the following counsel of

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                                       By:     /s/ Erin L. Leffler
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